EN THR UNI"§`EB S'§`A”§`ES DISTR§CT €O`URT
FOR '§`HE MIDDLE DISTRICT OI<` TENNESSEE
NASHVILLE DIWSI{)N

KENNETH and LISA ELAl\/L
Husband and Wii`e,,

STEVE and DIANA HAWKINS,
l§usband and Wii`e,

lRA VAUGHN, and

VlC?ORlA HAWKlNS

Case No.
.lURY DEMANDED
Plaintiffs,

V.

§ARPE§"H `VALLEY UTIL§TIES
DISTRICT OP DAVlDSON AND
WlLLlAMSON COUNTlES

Del`endant.

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€GMPLAENT

 

Conies now l{erinetli and Lisa Elani, Ste-Ve and Diana Haw§rins, ira `\/augl“in, and
Victoria llawkins, herein °‘l)laintit`i`s,"’ by and through counsel and allege the following
lNTRODUCTlON

l. llris is a citizens’ suitz brought under Section 5(}5 oi`the Federal Water l)oilution
Control Aet, otherwise known as tile Clean Water Ac€ (_Act) as arnended, 33 U.S.C. l365.
Plaintil“`fs seek a declaratory order, injunctive relier`, the imposition o§`civil penalties and
the award of costsJ including attorneys’ and expert Witness"` fees for the del`endants`
violations of`the Act, 33 U.S.C. § 1365 (§40§ state certification under the /-\ct), §l344
(§404 permits l"`or dredged and fill materials under the Act), §1365 (§505 citizen suits
under the Act), related conditions, inles_, and regulations in 33 CFR 330, and applicable

state rules and regulations

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JURiSDlC"i"lON AND VENUE

2. This Court has exclusive subject matter jurisdiction under 33 U.S.C. §l365(a),
and supplemental or pendant jurisdiction over the related nuisance and property damage
elairns asserted

3. On lone 7", ZOI l the Plaintii`i"s gave notice oi` the violations and their intent to tile
suit. Notice vvas served on the Tennessee Departnient ot`Environment and Conservation
(TDEC), the Adininistrator of the United States Environnientai Protection Agency (EPA),
the Region hour Director ot`the E-PA_, and the Det`endants liarpeth Valley Utilities
District ot`Davidson and Willianison Connties as required by the diet1 33 USC
§1365(`b)(l)(A).

4. l\/iore than oil days have passed since notice Was served and neither the EPA, nor
’i`D'ECz has eoinineneed any action or are they diiigently prosecuting a civii or erirninal
action to address the violations in addition, neither tire lEPA, nor 'l`i)EC,_ has commenced
an administrative eivii penaity action onder §§ 34 § (h) ot`the Act, or 33 USC §§344(s) to
address the violations prior to the issuance of the jane 7, QGli notice letter.

5. Venue is appropriate in the l`\/iiddle District ot" iennessee eu.rsn.ant to 33 liSC
§l365(c)(l _l, as the source ot` the violations is located Within this district

PARTIES
PLAINTIFFS

6. The Plaintiffs sue as individuals vvith recognizable legal interests that are directly

and adversely ai`iected by the actions of the l)ei`endants causing a loss oi`vvater, flow and

consequentiai loss ot` aquatic life in and near Overaii Creel<.

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7. l<;enneth and i;isa Elam own six acres through Whiclr Gvei'all CreelrL runs, and
have also suffered the loss ot` Water, flow and loss of aquatic life as a consequence of the
dredging and filling Work by defendants in and near Overall Creel<.

8. Steve and Diana l---lavvl<ins own tva tracts ol` land comprising 36 acres affected by
the actions o'i"the De'l"endants as described herein and aboch Overall Creek llovvs for
approximately 2009 linear feet through their property .

9. ira Vaughn and Victoria Hawlrins have similar property interest to the other
Plain.til"fs vvith acreage served by the creek providing vvater for livestock and recreation,
and have suffered a loss oil"water, llow and aquatic lite in and near Overall Creek.

illq For each l)laintit`t`, the harm alleged is redressable lay corrective action that will
restore stream ilow, aquatic lite and various uses of the vvater vvithiri plaintit`fs’
respective property lines

DEE`HNDANTS

l l. Det`endant l*l\/UD is a public benefit corporation responsible t`or providing Water
and wastewater services to residents in Davidson, Williarnson, and Clieatl'ian'i Counties in
lennessee. ln lello and 2097_., under a §~/l-(l¢l~ permit issued by the ianny Corps of
Engirieers {l)errnit #20€}3 l 747_} and §ad`l state certification (l\lRStlB.OZS) li\/Ul) dredged
and filled along side,_ in, and underneath tlie streambed ot`©verall Creek. ll`Vl.lD crossed
under Overall Creel< fourteen times to install a gravity sewer line under its respective

permits

FACTUAL BACKGROUND

 

ll llVUD obtained authority on or about December 2, 20(}3 to perform proposed

utility line installation Worl< at approximately l\/lile 34 oi_`Overall Creel< in Davidson

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Courit.y under tlie Army Corps otu §ngineers {Corps} `“§ 404"" l\iatioriwide lierniit wliicli
became effective for general use on l\/larcli lS, 2002. ri"iie proposed work was a dredge
and till project tliat would cut along, under and across Overall Creek to install a gravity
sewer line. Tiiis installation included approximately fourteen crossings under the stream
tied to install tlie pipe 'llie authorization signed by R.ichard D. Graharn ot`tlie Corps
Operations i)ivision required that all work was subject to the conditions and plans
attached to tlie permit, including the Nationwide l)erinit “12” and Conditioiis in File No.
200201747.

ll l’aragrapn tour (4) ot`tlie Corps i\latioriwide Peiinit specities that “l\lo activity
may substantially disrupt the necessary lit`e~cycle movements ot`tiiose species of aguatic
lite indigenous to the waterbody, including those species that normally migrate through
the area, uniess the activity°s primary purpose is to impound water.” Nationwide Pei‘init.
Noq l2 further specii:ies tiiat tire installed utility trencli. cannot be constructed in sucli a
manner as to drain waters ot`tlie U.So out o:l`tlie creek/stream bed creating a ‘i"rencli drain`
et"t`ect. {Paragrapli {i`l}

illo lite Cor_ps permit also specified tliat tire work must ne in accordance witt tire
State General Perinit conditions t`or utility line crossings

i§. lite state permit issued to defendant for this workj NRS 03.02§§ was ei`tective on
june 26, 2003 for a period oi` five years, and specified that all work rnust be done in
accordance with the plans and other specifications submitted with the application, and
must comply with water quality criteria as stated in Rule i200~4~3~.03 and l200-»¢l-#~“l, and
inay not impair the usefulness ot`tlie stream li`or uses inciuding tisli_.z aquatic lil`e, livestock

watering, recreation_._ irrigation or wildlit`e.

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id linder tire perinits, l-i‘\/Ul) rnade tire fourteen stream crossings and installed a
sewer main across the Plaintiffs’ property in tire summer and fall ot` 2007, several years
after iirst obtaining the permits

t”/. At`ter the work was completed Piaintit`i"`s noticed reduced flow at Overall Creel<
winch tow flow also coincided witli tlie severe droagb.t ot`2007 and into ZOO& Aiso, a
spring on property owned by Plaintit`l`s Ste\fe and Diana Hawl<ins dried tro after tlie work
was done, a condition which also coincided with the droughtl lt could not be determined
at that time whether the lack ot`tlow was attributable to tire work performed or the
drought conditions

iS. @n klarniary l!i, Z.G{l& i~i\/UD contracted with QUR_E Property Science to
determine i.;t`tl'te sewer line caused the Plaintit`fs“’ spring to stop ilowing. Poiiowing their
initial investigation H`\/UD and QORE Property Science assured plaintiff Steye Hawl<;ins
and others that the caose ot`tbe low tlow was tire drought and iaci< ot`raint`all_._ not tire
dredging and pipe work on tire streani crossings

i‘§. l.n tire summer ot`?;@{l& Piaintit`t`s were assured that Oyerall Creeit and tire spring
wonid return to normal ii"tow when regular rainfall returned

2d Howeyer_, throughout tire summer ot`Z{l(lQ, in contrast to its historical conditiont
Overall Creel§“s tlow was almost entirety dependent on raint`all. in other words,
depending on When one might inspect it, it rnay appear to be ilowing normally if rainfall
had just recently preceded tire inspection

Zl. ln the sunnner oi"?.GO;(), after repeated assurances by 'l"DEC and HVUD,_ Plaintiffs
determined that Overall Creel< was not returning to historic flow, was in fact dramatically

altered and the spring had not returned at ali. Entire sections along the i)iaintit`i`s’

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respective properties were extremely low in flowj had no ilow at all or had dried up
during times of the year when there had been consistent and substantial flow7 dating back
to the 1930’5 and earlier. Plaintil"l"s had patiently awaited the return of the water flow,
following assurances from ll\/`UD and some "l"Dl§C officials regarding the cause of the
altered stream flow conditions This flow did not return lhe spring remained dry

22. Plaintit`t`s learned in 2009 and thereafter that some 'l`DEC officials believed the
loss of ilow to be in fact caused by the dredging and crossings under the creek as
performed by HVUD under the permits all of which are upstream o'l"`tiie Hawi<ins
property Plainti§fs also learned that during times of signiticant rainfall when there
should have been adequate groundwater storage the flow in the creek remained
extremely low through the downstream areas of the Plaintii`fs’ properties evidence of a
significant interruption with groundwater ilow, consistent with the “draining’ oi`the creek
waters that is prohibited under the permits

23. Plaintiff Steye lriawkins met with a TDEC official and biologist in 2009 who
confirmed tiiat tire stream flow was in fact suhstantialiy altered over tire properties
downstream ot`tlie dredging and tiling work for the pipe installation lite official
confirmed to Mr. llawkirrs that Oyerall Creek had a substantial loss of flow and that the
pipe work along and under the creek bed was the likely cause ol" the diminished and lost
flow. lt is known to TDEC and utility companies that running pipes/utility lines along
and under creek beds can cause the groundwater flow that should be in the stream bed to
‘sink.’ or ‘drain’ stream water out ot` the strearnbed, and such Worl<. can cause the flow to

be diverted to underground chan_neis along the new, sub-surface pipeline

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24 §`tillowiiig various communications with rl"i)§C., it became apparent to some
plaintiffs and l\/is. Elain and l\/lr. Hawkins in particular, that officials at TDEC could not
reach consensus about the cause ot the problem and would not take corrective action

25. Poilowing such communications l\/lr. liawl<ins and l\/ls. Eiarn conducted further
and independent investigation and concluded that despite the assurances of HVUD that
the pipeline work had not diverted historic stream and spring flow in Overall Creel~;
through the plaintiffs’ properties, the evidence was substantial that l~'lVUD’s pipeline
worl~;, including fourteen underground crossings of the stream had caused a diversion or
draining ot` the stream water, and caused consequential private property damage as well
as violations ot`tiie permits statutes and regulations as set forth herein

26 Accordingly, Plaintiifs allege that HVUD’s pipeline construction work under the
permit in t`act diverted interrupted drained or otherwise substantially diminished the
stream flow in Gverall Creel<_ and causing it to dry up in iarge sections and render it
useless i`or iivestoele wildlite_., iish_., aquatic life and recreation across plaintit`t`s" properties
for most months oi"tiie year, inc pipeline work has also caused the apparently permanent
loss/temporary loss ot the spring on the lelawi;ins property

STA"FUTORY BACKGROUND

 

27. .l`)ursuant to 33 USC §lE-fid_, {§404 FWPCA), the Secretary ol"the Ariny, acting
through the Chiet` ot` Engineers has authority to issue permits for the discharge of dredged
or till material into navigable waters at specified disposal sites. Under this authority, the
Secretary may issue general permits on a state or nationwide basis t`or any category of
activities involving the discharges of dredged or till material under certain conditions (33

usc §1344(@)(1).

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23 'i"`ite Nationwide i)erntits issued by the Secretary under 33 ii,lSC §i§ifi¢i are
conditioned upon the federal regulations contained in the code or Federal Reguiations,
specifically 33 CFR 330 et. seq. Availabie Nationwide Perrnits include those pursuant to
33 CFR 330 Appendix A, "‘Utility Line Bacl<t`tli and Bedding” known as a ""#lZ” permit
Appendix B oi`tl;rat same regnlation deiines a “u.tility iine” as any pipe or pi.peiine i`or tire
transportation of any gaseons, liquid, iioueiiable, or slorr§/V substance for any purpose

29. Appendix C of 33 CFR 33 0.4 specifies that under the General Conditions for
Nationwide Perrnits, no activity may substantially disrupt the movement of those species
oi` aquatic iite indigenous to the Water i)ody, or those that normaliy migrate tiirougir the
areav inis condition is a requirement i`or tire authorization ot`a nationwide permit to be
valid. Aceordingiy, it`any Wori<;. under tile permit causes a loss oi`tiow, or ‘siril<ing’ ot`a
stream that substantiaily disrupts the movement oi` the aeaatie lii`e in tire stream that lived
in tire water body before tire permit vvori<; Was eoncinctec:i, tire permit terms have been
vioiated.

30 Tlie terms oi`tiie federai perrnit and tire state “ARAP"' are ei`iinent standards or
iirnitations pursuant to subpart iii oi` tire federal Clean Watcr Aet provisions for citizen
snit.s. An effluent standard or iimitation under 33 U.S.C. § i365 {i) includes any
applicabie permit or condition ot` a permit Aeeordingly_., tire ongoing loss and or draining
and or diversion oi`tite stream Waters oi`Overail Creel< due to the dredged and titled
material in, under and next to tlie stream bed constitutes ongoing permit violations as
long as the loss of Water renders tire stream substantialiy iess useful for reereation,
aquatic lit`e__, iivestocl<, irrigation and recreation Piaintii`i`s allege here that tire facts are

that the streain bed is dry in tong stretches downstream i`rorn the muitiple crossingsr, and

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the ioss ot`continuons_, seasonal historic i`lovv has made it unusable t`or iivestoci;i,
irrigation, Wildlit`e, recreation, and caused a loss oi" aquatic iii`e.

3 l. The terms of the federal Nationvvide l"errnits, the state 40i certii"ication, and state
""ARAP” NRS 03.{}28 liave been and are continualiy violated as Overall Creel<: remains
dry and diverted as a i'esuit o'i.`the dredge and iili work by HVU`D. i`he matter has been
brought to tire attention of defendant jurisdictionai notice has been given. Ffire loss ot`
Water in the stream and the loss ot` the spring feeding the stream has not been corrected

No state corrective action has been taken 'l`he citizen suit is Warranted.

CAUSES OP AC'i.`iOi\i
i. Federai Ciean Water Act

32n Tlie foregoing paragraphs are incorporated here by reference as ii`i`ully set iortl"i.

33. i)ia.intii`is aiiege that pursuant to 33 USC §§365 {Section 505 liWi’CA)i they are
adversely affected citizens vvith standing to pursue this action and the jurisdictional
notices have been served Det`endant"s vioiations oi` the appiicabie standards and
limitations are continuing

34 Plaintiffs allege that this compiaint has been rnade Witiiin tire applicabie statutory
time ot` iiniitation.

35. Plaintiifs allege that Overali Creek described herein constitutes navigable vvaters
Within the meaning of 33 USC §1341 and §1344. Overail Creek is directiy and
hydrologicaliy connected by continuous surface flow to the Carnberland River, and is a
"’navigabie’ vvaterway within tlie meaning oi"the Clean Water Act. lt is not an isoiated

Wetland, or isoiated stream segment

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364 Plaintiffs allege the Defendant violated the state and federal permit terms and
limitations Within the meaning of 33 USC § 1365, (i') §134l, §1344, and including, but
not limited to 33 CFR 330 Appendices A and l3, 330.4(c)_, the Ten,iiessee state statutes
'i`.C.A. §69-3-l03(b) and Tennessee Water Quality Rules and Regulations, lZUO-4-3-n{l3_,
and tQEltl-€~Q as Well as thltl-'Fr-Z-vtloj the Antidegradation policy ol_`tlie state

37. The permit tenns, for the federai perrnit, “l\lationwide Permit # 1255 and the state
permit, NRS 03.028 have been and continually violated as alleged above.

38. l\/lore specifically, Defendant installed the sewer line with approximately fourteen
stream crossings as Weli as deep excavations along the creek bed that caused the bedrock
of tire sti'earnbed to tie substantially destroyed and redirected surface and groundwater
away from the creel<; bed surface and into subsurface areas The pre-existing aquatic life
cannot survive or migrate vvitlr tire loss oil surface tlovv, or in a dry bedvi and tire dry bed
cannot be used for livestocer recreation or other such purposesv

39. Prior to the Worl< in tire stream, Overail Creel< and the liavvl\:ins’ spring had
provided nearly year-round and _perennial fiovv for all irrigation,, farming and livestock
uses. lhe liawlrins family alone nas relied on it for over a generation

AS(}. Additionally., the aquatic lifc, eco»systeni, and aesthetic qualities of Overall Creel<;
enjoyed by these plaintiffs and used for recreationai, agricultural and property value
purposes are no longer observable and inay have been destroyed

41. Alternatively, Piaintiffs allege Defcndant violated tire standards and limitations
Within the meaning of33 USC §l34l, 33 CFR 330,, Appendices n and li and 330.4(c) lay

failing, and continuing to fail to satisfy tile terms and conditions of tire nationwide permit

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for Utiiity iiirie Baci<i`iil and Bedding, even after the matter was brought to its attention

and the attention of TDEC.

42. Alternatively, i?iaintit`i`s allege Det`endant violated 33 `USC §l365 ey failing to
obtain an appropriate permit for tire §nstaliation ot` a initith fine and destruction and/or
alteration oi` a stream or tlie permanent diversion ot` stream flow thereby vioiating 33
USC §1344, (§404 ot` the FWPCA requires a permit t`or dredging and liliing Waters oi"tlie
United States) and or §l 341, (§40l ot`tlie FWPCA). Accordingly, the dredged and tilted
materiai Was piaceri and remains in piece substantiain disrupting stream tlow and aquatic
lite vermont tire required permit t`or a permanent alteration to surface streams

43. Det`endant is subject to an injunction ordering it to cease all vioiations ot`tiie
applicable standards and limitations and restore tire strearn to its originai contours and
restore tire snriace tiow and aquatic lii"e., and otherwise comply Witii tire reotiireinents ot`
the applicable Nationwide Permit t.`or Utility instailation.

lift Det`endarit is sobjcct to., and Piaintii`t`s make a reasonable demand i`or.: an award ot`
costs ot`litigation incinding reasonable attoniey and expert Witness rees pursuant to 33
USC §§365(€§}, and penaities as provided try statute i)enalties are appiicabie t`or everyr
day during which the violations occurred and continue to occar, according to proof

ll_ Nuisance

45. Piaintit`fs re-allege ail of the foregoing paragraphs and incorporate them as if fully
set forth in this cause of action.

461 P§aintil`t`s ailege that by tlie actions set forth iierein, Det`endant has created anci

maintained a condition by the construction of tlie pipeline that has damaged Overall

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Creelt, and siii)stantiaiiy and nnreasonahiy harmed and otherwise interfered vvitii the free
use, possession and enjoyment of the private property of the plaintiffs and each of them
over an onreasonabie length of time_ The acts ofDefendant in ‘sinl<ing’ or ‘draining’ the
stream flow of Overali Creek and the Havvi<ins spring has created and maintained a
nuisance

47. 'fhe actions of tire Dei"endant have caused the Plaintiffs to lose aesthetic vaiiie, a
source of Water t`or livestock and recreation, property value for agricultural iand that long
had a consistent and reliable Water/stream source, With aquatic iife in the stream Each of
piaintiffs’ properties is nnic§neiy situated to derive vahie from the location oi` Overali
Creeic as a vvater source Each piaintiff has enjoyed the stream and ased it for recreationai
activities vvith family and children hisa lEiam owns and maintains horses and the ioss of
the stream has directiy diminished her ability to enjoy the property and stream for that
pirrpose2 as one specific example rfhc Hawit.iiis r`arniiy has enjoyed the historic rise of
the stream and their spring as an alternative Water source, and for iirigation, recreation
iivestoci< and Wiidiife. 'i"`he loss oi`it is distressing, annoying and a snhstaritiai
interference with the property rights ot`each piaintiff. 'i" he actions of the i}efendant have
created an ongoing nuisance that shows no signs of ahatement, despite repeated
assurances that the pipeiine vvorlt caused no change at ali.

48. Piaintiffs aliege the nuisance is temporary, permanent, and may he both as the law
recognizes 'i`he nuisance may be reparable With corrective action, which is preferred and
requested Plaintiffs demand damages for each ofthem for the loss of nse, loss of

reasonable rental vaitle, and or diminution in vaine, and damages for the annoyance,

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inconvenience discomfort harm and injury to the personal cotnt`ortz tree use and

possession and occupation ol"` each plaintift`s’ property rights

lil. Property Daniage

49 Plaintit"ts re~allege all o'i" the ioregoing paragraphs and incorporate them as it fully
set t`orth in this cause orn action

50. Det`endants had a duty to exercise reasonable care during the excavation, line
replacement_, and backfilling so as not to damage downstream properties and cause a loss
of springs or stream tloW.

5 l. Defeiidair.t failed to exercise reasonabie care in designing excavating oaci<tilling,
and replacing the line in and around Overall Creel<., and by installing it at such depths and
repeated proximity to the stream bed that substantial interference Witlr the groundwater
't`low, stream tiow and Hawl<;ins”spring vvas inevitable

52. As a result ot Det`endant’s failures, the Plaintit`t`s” property has ’oeen pernianentiy
damaged Plaintiii`t`s have lost nearly all use of the creek as a source or vrater_r recreation
and aesthetic beautyd

53 Plaintit`t`s demand property damages as ailovred try law i`or repair and replacement
of the stream tlow and stream bed contours and or diminution in property valtie,
Whichever is less

RELIEF RE§ )UESTED
54. WHEREl-TORE, Plaintit`fs respectfully request this Court to grant the following

relie§:

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a. l`)eelare the Dei`endant has vielaied., and is in violation ni` the Aei, 33 USC
§134i and §l 344 and related regulations;

h Oi'der the Dei`endant to reniediate the Worl< areas and er Overall Ci‘ee§< to
restnze stream flow and waiei‘ for the indigenous aquatic life, and
eihei‘Wise comply Wii;li §;lie ienns ei`il'ie Natienwide Pen.nit, federal law
and sta€e laW;

e. Award damages upon proof efthe nuisance and or property damage
claims up 10 and including $l 50,000 for each plaintiff;

d. Award Plainiii`fs iheir ees‘ss, including ieasnna’nle aitomey and expert
Witness fees._ as authorized by Seciinn SOS{d} cf the aei, 33 USC§ l 365{@;};
and

ev Awani penalnes for each day tile vinla$iens have neeun'ed and persisted;

jawai”d ether such i'eliei"_, as this Cnui'§; deems appropriate

’W‘h

Respeeiinlly subn"iitied

 

 

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